Case 1:12-cr-00127-TWP-TAB Document 102 Filed 08/27/20 Page 1 of 11 PageID #: 898




                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF INDIANA
                                       INDIANAPOLIS DIVISION

  UNITED STATES OF AMERICA,                                    )
                                                               )
                                   Plaintiff,                  )
                                                               )
                              v.                               )     Case No. 1:12-cr-00127-TWP-TAB
                                                               )     Case No. 1:13-cr-00200-TWP-TAB
  DONALD SACHTLEBEN,                                           )
                                                               )
                                   Defendant.                  )

      ORDER DENYING DEFENDANT'S MOTION FOR COMPASSIONATE RELEASE

          This matter is before the Court on Defendant Donald Sachtleben's ("Sachtleben") Motion

  for Compassionate Release in the above-captioned cases, 1 requesting a sentence reduction under

  18 U.S.C. § 3582(c)(1)(A)(i) based on "extraordinary and compelling reasons." (Dkt. 43.) He asks

  the Court to reduce his sentence ofimprisonment to time served because of risks associated with

  the Coronavirus. Id. For the reasons stated below, the Motions are denied.

                                                I.   BACKGROUND

          Sachtleben worked as a Special Agent for the Federal Bureau of Investigation until his

  retirement in 2008 when he began working for the agency as a contractor. During his career he

  specialized in terrorism and was a first responder at the Oklahoma City bombing and the World

  Trade Center bombing. (Dkt. 22 at 14.) He also investigated the terrorist attacks of September

  11, 2001. (Dkt. 43 at 2.)

          On August 10, 2012, a criminal information was filed charging Sachtleben with Knowing

  Distribution of Child Pornography and Knowing Possession of Child Pornography, in violation of



  1
    Sachtleben filed identical motions in the above-captioned cases. Because the claims and the relief sought in the
  motions are the same, the Court considers them together. For ease of reference, except where otherwise noted, all
  docket citations in this Order are to Case No. 1:13-cr-00200-TWP-TAB-1.
Case 1:12-cr-00127-TWP-TAB Document 102 Filed 08/27/20 Page 2 of 11 PageID #: 899




  18 U.S.C. §§ 2252(a)(2) and 2252(a)(4)(B). On September 23, 2013, pursuant to the parties’

  agreement, the United States filed a criminal information in Cause Number 1:13-cr-200 WTL-

  TAB, charging the Defendant with Unauthorized Disclosure of National Defense Information and

  Unauthorized Retention of National Defense Information, in violation of 18 U.S.C. § 793.

         On November 14, 2013, Sachtleben pled guilty to one count of unauthorized possession

  and retention of national defense information, one count of unauthorized disclosure of national

  defense information, one count of possession of child pornography, and one count of distribution

  of child pornography. (Dkt. 26; 1:12-cr-00127-TWP-TAB-1, Dkt. 81.) He was sentenced on

  November 20, 2013. (Dkt. 27; 1:12-cr-00127-TWP-TAB, Dkt. 82.)

         Prior to sentencing, a Presentence Investigation Report ("PSR") was prepared. (Dkt. 22.)

  The PSR reflects that the charges in these two cases arose after the Federal Bureau of Investigation

  discovered that Sachtleben had traded child pornography with the subject of another investigation.

  During the search of Sachtleben's house in connection with the child pornography investigation,

  investigators discovered classified information Sachtleben was not authorized to possess. Around

  this same time, Sachtleben disclosed national defense information to a reporter who then contacted

  government officials in search of additional information. Id. at 5-7.

         At his sentencing hearing, there were no objections to the PSR. The PSR shows that

  Sachtleben had no prior convictions. He was assigned a criminal history score of zero and a

  criminal history category of I. Id. at 11. Based on a total offense level of 35 and a criminal history

  category of I, the advisory guideline imprisonment range was 168 to 210 months. Id. Judge

  William T. Lawrence sentenced Sachtleben to 140 months imprisonment. (Dkt. 173.) He also

  imposed seven years of supervised release. (Dkt. 27; 1:12-cr-00127-TWP-TAB-1, Dkt. 82.)




                                                    2
Case 1:12-cr-00127-TWP-TAB Document 102 Filed 08/27/20 Page 3 of 11 PageID #: 900




         Sachtleben is now 62 years old. He is incarcerated at FCI Elkton in Elkton, Ohio. He has

  been incarcerated since September 25, 2013, and his current release date is projected to be August

  of 2023. (See Dkt. 43 at 1-2.) He has served over half his sentence.

         On July 23, 2020, Sachtleben filed a motion for compassionate release (Dkt. 31). The

  Government responded on July 31, 2020, and Sachtleben replied on August 7, 2020. The Court

  struck the parties' briefing because they did not follow applicable rules for sealing and redacting

  potentially confidential information. The parties refiled their briefs on August 14, 2020. The

  motions are now ripe for review.

                                          II.   DISCUSSION

         In his Motion, Sachtleben argues that the Court should order his immediate release from

  incarceration because a lesion on his lung makes him vulnerable to serious health complications if

  he contracts COVID-19, creating extraordinary and compelling reasons warranting a sentence

  reduction. (Dkt. 43.) He contends that Elkton FCI, where he is presently housed, has been one of

  the worst affected with COVID-19 of any of the prisons in the BOP system. Id. at 14. In addition,

  he argues that he is not a danger to the community and that the sentencing factors in 18 U.S.C. §

  3553(a) favor his release. Id.

          In response, the Government argues that Sachtleben has not presented extraordinary and

  compelling reasons for a sentence reduction because the Centers for Disease Control and

  Prevention has not identified lung lesions as a condition that is known to increase the risk of severe

  illness from COVID-19. The Government notes that Sachtleben has not been diagnosed with

  either lung cancer or Chronic Obstructive Pulmonary Disease (COPD), two conditions that have

  been identified as causing such a risk. (Dkt. 42 at 35.) The Government contends that FCI Elkton

  has taken measures designed to mitigate sharply the risks of COVID-19 transmission in its facility.



                                                    3
Case 1:12-cr-00127-TWP-TAB Document 102 Filed 08/27/20 Page 4 of 11 PageID #: 901




  The Government also argues that Sachtleben poses a danger to the community and that the

  § 3553(a) factors do not favor his release. Id. at 41-50.

          18 U.S.C. § 3582(c) provides in relevant part:

          [T]he court, upon motion of the Director of the Bureau of Prisons, or upon motion
          of the defendant after the defendant has fully exhausted all administrative rights to
          appeal a failure of the Bureau of Prisons to bring a motion on the defendant's behalf
          or the lapse of 30 days from the receipt of such a request by the warden of the
          defendant's facility, whichever is earlier, may reduce the term of imprisonment (and
          may impose a term of probation or supervised release with or without conditions
          that does not exceed the unserved portion of the original term of imprisonment),
          after considering the factors set forth in section 3553(a) to the extent that they are
          applicable, if it finds that—

                  (i) extraordinary and compelling reasons warrant such a reduction . . . and
          that such a reduction is consistent with applicable policy statements issued by the
          Sentencing Commission . . . .

  18 U.S.C. § 3582(c)(1)(A).

          Sachtleben submitted a written request for compassionate release to his custodian which

  was denied on May 5, 2020.             (Dkt. 43-8.) The Government concedes that Sachtleben has

  exhausted his administrative remedies. (Dkt. 42 at 27-28.) Accordingly, the merits of the Motion

  for compassionate release are ripe for the Court's consideration under 18 U.S.C. § 3582(c).

          Congress directed the Sentencing Commission to "describe what should be considered

  extraordinary and compelling reasons for sentence reduction, including the criteria to be applied

  and a list of specific examples." 28 U.S.C. § 994(t). In response to this directive, the Sentencing

  Commission promulgated a policy statement regarding compassionate release under § 3582(c),

  contained in United States Sentencing Guidelines ("U.S.S.G.") § 1B1.13 and the accompanying

  Application Notes. While that particular policy statement has not yet been updated to reflect that

  defendants (and not just the Bureau of Prisons) may move for compassionate release, 2 courts have


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    Until December 21, 2018, only the Bureau of Prisons ("BOP") could bring a motion for sentence reduction under
  § 3582(c)(1)(A). The First Step Act of 2018, which became effective on December 21, 2018, amended § 3582(c)(1)(A)

                                                         4
Case 1:12-cr-00127-TWP-TAB Document 102 Filed 08/27/20 Page 5 of 11 PageID #: 902




  universally turned to U.S.S.G. § 1B1.13 to provide guidance on the "extraordinary and compelling

  reasons" that may warrant a sentence reduction. E.g., United States v. Casey, 2019 WL 1987311,

  at *1 (W.D. Va. 2019); United States v. Gutierrez, 2019 WL 1472320, at *2 (D.N.M. 2019); United

  States v. Overcash, 2019 WL 1472104, at *2-3 (W.D.N.C. 2019). There is no reason to believe,

  moreover, that the identity of the movant (either the defendant or the BOP) should have any impact

  on the factors the court should consider.

          As provided in § 1B1.13, consistent with the statutory directive in § 3582(c)(1)(A), the

  compassionate release analysis requires several findings. First, the Court must address whether

  "[e]xtraordinary and compelling reasons warrant the reduction" and whether the reduction is

  otherwise "consistent with this policy statement." U.S.S.G. § 1B1.13(1)(A), (3). Second, the

  Court must determine whether Sachtleben is "a danger to the safety of any other person or to the

  community, as provided in 18 U.S.C. § 3142(g)." U.S.S.G. § 1B1.13(2). Finally, the Court must

  consider the § 3553(a) factors, "to the extent they are applicable." U.S.S.G. § 1B1.13.

  A.      Extraordinary and Compelling Reasons

          Subsections (A)-(C) of Application Note 1 to § 1B1.13 identify three specific "reasons"

  that qualify as "extraordinary and compelling": (A) terminal illness diagnoses or serious conditions

  from which a defendant is unlikely to recover and which "substantially diminish[]" the defendant's

  capacity for self-care in prison; (B) aging-related health decline where a defendant is over 65 years

  old and has served at least ten years or 75% of his sentence, whichever is less; or (C) certain family

  circumstances. U.S.S.G. § 1B1.13, Application Note 1(A)–(C). Subsection (D) adds a catchall




  to allow defendants to bring such motions directly, after exhausting administrative remedies. See 132 Stat. at 5239
  (First Step Act § 603(b)).


                                                          5
Case 1:12-cr-00127-TWP-TAB Document 102 Filed 08/27/20 Page 6 of 11 PageID #: 903




  provision for "extraordinary and compelling reason[s] other than, or in combination with, the

  reasons described in subdivisions (A) through (C)." Id., Application Note 1(D).

           The policy statement provides that "[a] reduction under this policy statement may be

  granted only upon motion by the Director of the Bureau of Prisons." U.S.S.G. Manual §1B1.13,

  Application Note 4. Likewise, the catchall provision provides, "[a]s determined by the Director

  of the Bureau of Prisons, there exists in the defendant's case an extraordinary and compelling

  reason other than, or in combination with, the reasons described in subdivisions (A) through (C)."

  Id., Application Note 1(D). This policy statement has not been amended since the passage of the

  First Step Act and has led some courts to conclude that the Commission does not have a policy

  position applicable to motions under § 3582(c)(1)(A)(i), and that they have discretion to determine

  what constitutes an "extraordinary and compelling reason" on a case-by-case basis. Insofar as it

  states that only the Director of the BOP can bring a motion under § 3582(c)(1)(A), it is directly

  contradicted by the amended statutory text. This discrepancy has led some courts to conclude that

  the Commission does not have a policy position. The Court need not resolve that debate, though,

  because Sachtleben's Motion is due to be denied even if the Court assumes that the policy statement

  is not binding and that it has the discretion to determine what constitutes an "extraordinary and

  compelling reason" for a sentence reduction. 3 Sachtleben does not suggest that Subsections (A)-

  (C) of Application Note 1 to § 1B1.13 apply to him. Thus, the question is whether the catchall

  provision for extraordinary and compelling reasons applies in this case.



  3
    Some courts have held that looking to the policy statement is helpful, but not dispositive. See, e.g., United States v.
  Perdigao, No. 07-103, 2020 WL 1672322, at *2 (Apr. 2, 2020) (collecting cases); see also United States v. Haynes,
  No. 93 CF 1043 (RJD), 2020 WL 1941478, at *14 (E.D.N.Y. Apr. 22, 2020) (collecting cases). Other courts have held
  that they must follow the policy statement as it stands and, thus, that the Director of the BOP is the ultimate arbiter of
  what counts as "extraordinary and compelling" under the catchall provision. See, e.g., United States v. Lynn, No. 89-
  0072-WS, 2019 WL 3805349, at *2–4 (S.D. Ala. Aug. 13, 2019).



                                                              6
Case 1:12-cr-00127-TWP-TAB Document 102 Filed 08/27/20 Page 7 of 11 PageID #: 904




         The Court concludes that it does not. Sachtleben was first diagnosed with a lesion on his

  lung in 2012. Since that time, it has grown, but the results of his most recent repeat CT scan,

  completed on February 10, 2020, showed that the lesion was "stable and favored a benign etiology

  with malignancy less likely." (See Dkt. 42-1 at 6.) Sachtleben does not suffer from any condition

  identified by the Centers for Disease Control and Prevention as a condition that increases one's

  risk of severe illness from COVID-19. See Centers for Disease Control & Prevention, Coronavirus

  Disease—People      with   Certain    Medical     Conditions    (last   updated   July   17,   2020),

  https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-with-medical-

  conditions.html. Although COVID-19 is present at his facility, he has tested negative for the

  disease on multiple occasions. (Dkt. 42-1 at 1, 39-40.)

         Sachtleben's Motion can be understood to argue that the outbreak of Covid-19 at FCI

  Elkton alone constitutes an extraordinary and compelling reason to grant him early release.

  (Dkt. 43 at 14-15.) On some level, this argument has appeal. Despite the implementation of

  protocols to control spread of the virus, at the height of the outbreak at FCI Elkton, inmates faced

  a serious risk of catching a serious, potentially deadly disease. Indeed, the Sixth Circuit recognized

  this acute risk in Wilson v. Williams (Wilson II), 961 F. 3d 829, 840 (6th Cir. June 9, 2020)

  (vacating preliminary injunction entered in Wilson v. Williams (Wilson I), ___ F. Supp. 3d ___,

  2020 WL 1940882 (N.D. Ohio Apr. 22, 2020)); ("The transmissibility of the COVID-19 virus in

  conjunction with Elkton’s dormitory-style housing . . . and the medically-vulnerable subclass’s

  health risks, presents a substantial risk that petitioners at Elkton will be infected with COVID-19

  and have serious health effects as a result, including, and up to, death.").

         However, to date, the Court has not found that incarceration in a COVID-19 "hotspot" is

  enough, standing on its own, to constitute an extraordinary and compelling reason warranting



                                                    7
Case 1:12-cr-00127-TWP-TAB Document 102 Filed 08/27/20 Page 8 of 11 PageID #: 905




  immediate release from imprisonment. Instead, the Court has looked to the totality of the

  circumstances and has denied motions for compassionate release from defendants who are not at

  serious risk from experiencing severed COVID-19 symptoms—even when they are incarcerated

  in a hotspot. See, e.g., United States v. Douglas, No. 3:14-cr-00003-RLY-CMM-03, Dkt. 407

  (S.D. Ind. June 15, 2020) (finding no extraordinary and compelling reason for sentence reduction

  for defendant who was incarcerated at FCI Elkton and had tested positive for COVID-19 but had

  not displayed any symptoms and did not have conditions that put him at a higher risk of a severe

  or deadly case of COVID-19); United States v. Swain, No. 2:15-cr-00019-JMS-CMM-06, Dkt.

  781 (S.D. Ind. June 3, 2020) (finding no extraordinary and compelling reasons for sentence

  reduction for inmate who was incarcerated at facility experiencing a major outbreak of COVID-

  19 and had tested positive for COVID-19 but had not displayed severe symptoms and did not have

  conditions that put him at a higher risk of a severe case of COVID-19).

         Notably, if the Court accepted Sachtleben's argument, it would afford greater and more

  broadly available relief than the preliminary injunction the Sixth Circuit vacated in Wilson II. In

  Wilson I, Judge Gwin certified a subclass of FCI Elkton inmates who (a) were 65 years or older,

  or (b) had "documented, pre-existing medical conditions" that would enhance their risk of

  experiencing serious illness or death if they acquired COVID-19. 2020 WL 1940882 at *6. Judge

  Gwin did not order that all members of the subclass be released to home confinement, as

  Sachtleben requests. Rather, he directed that the prison staff evaluate each subclass member's

  eligibility for compassionate release, parole, community supervision, or furlough, and transfer all

  other subclass members to other BOP facilities. Id. at *10–11. Detailing the BOP's efforts to

  mitigate the virus, the Sixth Circuit found that the subclass members were unlikely to demonstrate




                                                  8
Case 1:12-cr-00127-TWP-TAB Document 102 Filed 08/27/20 Page 9 of 11 PageID #: 906




  that the prison staff was deliberately indifferent to their serious medical needs—medical needs

  made more serious by advanced age and pre-existing conditions. Wilson II, 2020 WL 3056217.

         Sachtleben requests greater relief than the Wilson subclass and on grounds that would apply

  to every inmate in the prison, not just medically vulnerable inmates. On the record as it currently

  stands, the Court concludes that Sachtleben has not shown that extraordinary and compelling

  reasons warrant a sentence reduction. Thus, his Motion must be denied.

         Medical records indicate that the BOP is monitoring Sachtleben's lung condition on a

  regular basis. To the extent he believes that prison officials have been deliberately indifferent to

  this condition, he may pursue legal remedies through a civil rights action after exhausting available

  administrative remedies.

  B.     Analysis of § 3553(a) Factors

         In addition to finding that Sachtleben has not demonstrated extraordinary and compelling

  circumstances to justify his early release, the Court also concludes that the § 3553(a) factors

  counsel against Sachtleben's release. The § 3553(a) factors include: (1) the nature and

  circumstances of the offense and the history and characteristics of the defendant; (2) the need for

  the sentence imposed (a) to reflect the seriousness of the offense, to promote respect for the law,

  and to provide just punishment for the offense; (b) to afford adequate deterrence to criminal

  conduct; (c) to protect the public from further crimes of the defendant; and (d) to provide the

  defendant with needed educational or vocational training, medical care, or other correctional

  treatment in the most effective manner; (3) the kinds of sentences available; (4) the kinds of

  sentence and the sentencing range established for the defendant's crimes; (5) any pertinent policy

  statement issued by the Sentencing Commission; (6) the need to avoid unwarranted sentence




                                                   9
Case 1:12-cr-00127-TWP-TAB Document 102 Filed 08/27/20 Page 10 of 11 PageID #: 907




  disparities among defendants with similar records who have been found guilty of similar conduct;

  and (7) the need to provide restitution to any victims of the offense. 18 U.S.C. § 3553(a).

         As to Sachtleben's personal characteristics, see 18 U.S.C. § 3553(a)(1), he is 62 years old

  and, apart from the lesion on his lung, is in relatively good health. (Dkt. 42-1 at 16.) Despite his

  lack of prior criminal conduct, the nature and circumstances of his offenses weigh heavily against

  his request for a sentence reduction. His crimes involved minor victims and the unauthorized

  retention and release of sensitive national security information. These crimes were extremely

  serious and warrant just punishment to deter others. Furthermore, his crimes can be committed at

  home on the computer. Nothing about Sachtleben's current physical condition prevents him

  resuming these activities.

         The considerations of § 3553(a)(2) also weigh against granting Sachtleben's request for a

  sentence reduction. His 140 month sentence was below the advisory guideline range of 168-210

  months imprisonment. To release him with so much of his sentence remaining would diminish

  the seriousness of his offenses and would not promote respect for the law.

         Finally, the Court considers § 3553(a)(2)(D)—the need for the sentence to provide

  Sachtleben with educational or vocational training, medical care, or other correctional treatment

  in the most effective manner. See 18 U.S.C. § 3553(a)(2)(D). Sachtleben has completed a sex

  offender treatment program, but he is also eligible for an RDAP program which would provide

  him with additional tools necessary to become a successful member of society upon release from

  incarceration. (Dkt. 43 at 1.) The Court acknowledges that, given the current pandemic, it is

  uncertain when the program will actually be available to Sachtleben but finds that continued

  incarceration would allow Sachtleben to receive needed services.




                                                  10
Case 1:12-cr-00127-TWP-TAB Document 102 Filed 08/27/20 Page 11 of 11 PageID #: 908




         The Court concludes that the § 3553(a) factors weigh against Sachtleben's request for

  compassionate release. Thus, his Motion for Compassionate Release must be denied.

                                      III. CONCLUSION

         For the reasons stated above, Sachtleben's Motions for Compassionate Release, Dkt. [43]

  in Case No. 1:13-cr-00200-TWP-TAB-1, and Dkt. [100] in Case No. 1:12-cr-00127-TWP-TAB-

  1, are DENIED.

         SO ORDERED.

  Date: 8/27/2020




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                                               11
